  Case 2:14-cv-13005-AC-MKM ECF No. 1, PageID.1 Filed 08/01/14 Page 1 of 12




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


Cynthia Applebaum, Warren Black, Anita
Matlock, Patrick Ridgeway, and William Sly,
individually and on behalf of all others similarly
situated,

        Plaintiff,
vs.

MGM Grand Detroit, LLC.,

        Defendant.

______________________________________________________________________________/
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Robert W. Palmer P31704
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___________________________________________________________________________/

                            COLLECTIVE ACTION COMPLAINT


       Plaintiffs, Cynthia Applebaum, Warren Black, Anita Matlock, Patrick Ridgeway, and

William Sly, individually and on behalf of all others similarly situated, by their attorneys, Pitt

McGehee Palmer & Rivers P.C., upon personal knowledge as to themselves and upon

information and belief as to other matters, alleges as follows:

                                  NATURE OF THE ACTION

       1.      This lawsuit seeks to recover overtime compensation for Plaintiffs and their

similarly situated co-workers who have worked for the Defendant MGM Grand Detroit as Floor

Supervisors.
  Case 2:14-cv-13005-AC-MKM ECF No. 1, PageID.2 Filed 08/01/14 Page 2 of 12




       2.      Plaintiffs are members of the class they seek to represent.

       3.      In addition to their regular hours, Floor Supervisors were also required to attend

pre-shift meetings two time per week as well as training, for which they were not compensated.

       4.      Defendant regularly requires Floor Supervisors to work in excess of 40 hours per

week but refuses to pay them any overtime pay.

       5.      The primary duty of the Floor Supervisor position is to perform nonexempt work

including: monitoring and conducting game play in accordance with MGM policies and

procedures, including tracking significant player activity, rating players and reporting to the

supervisor the Pit Manager.

       6.      The primary duty of the floor supervisor position does not fall under any of the

exemptions under federal or state overtime laws.

       7.      By the conduct described in this Collective Action Complaint, Defendant has

violated the Fair Labor Standards Act (“FLSA”) by failing to pay Floor Supervisors, including

Plaintiffs, the overtime wages that they have earned and to which they are entitled by law.

       8.      Plaintiffs bring this action on behalf of themselves and similarly situated current

and former employees of Defendant who elect to opt-in to this action pursuant to the FLSA, 29

U.S.C. §§ 201 et seq., and specifically, the collective action provision of 29 U.S.C. § 216(b), to

remedy violations of the wage and hour provisions of the FLSA by Defendant that have deprived

Plaintiffs and others similarly situated of their lawfully earned wages.




                                                -2-
  Case 2:14-cv-13005-AC-MKM ECF No. 1, PageID.3 Filed 08/01/14 Page 3 of 12




                                       THE PARTIES

Plaintiffs

                                     Cynthia Applebaum

       14.     Plaintiff Cynthia Applebaum is an adult individual who is a resident of Jackson,

Michigan.

       15.     Applebaum has been employed by Defendant since July 6, 1999 where she works

as a Floor Supervisor.

       16.     Pursuant to Defendant’s policy, pattern, and/or practice, Applebaum regularly

worked more than 40 hours in a workweek, but was not compensated for overtime hours worked.

       17.     Applebaum was paid straight time for all hours worked over 40 as reflected by

MGM pay records.

       18.     Throughout her employment with Defendant, on one or two occasions per week

Applebaum was required to attend a pre-shift meeting for which she was not compensated.

       19.     In addition, Applebaum was required to attend training sessions for which she

was not compensated.

       20.     Applebaum is a covered employee within the meaning of the FLSA.

       21.     A written consent form for Applebaum has been executed.

                                            Warren Black

       22.     Plaintiff Warren Black is an adult individual who is a resident of Detroit,

Michigan.

       23.     Black has been employed by Defendant since July 6, 1999 where he works as a

Floor Supervisor.




                                             -3-
  Case 2:14-cv-13005-AC-MKM ECF No. 1, PageID.4 Filed 08/01/14 Page 4 of 12




       24.     Pursuant to Defendant’s policy, pattern, and/or practice, Black regularly worked

more than 40 hours in a workweek, but was not compensated for overtime hours worked.

       25.     Black was paid straight time for all hours worked over 40 as reflected by MGM

pay records.

       26.     Throughout his employment with Defendant, on one or two occasions per week

Black was required to attend a pre-shift meeting for which he was not compensated.

       27.     In addition, Black was required to attend training sessions for which he was not

compensated.

       28.     Black is a covered employee within the meaning of the FLSA.

       29.     A written consent form for Black has been executed.

                                            Anita Matlock

       30.     Plaintiff Anita Matlock is an adult individual who is a resident of Romulus,

Michigan.

       31.     Matlock was employed by Defendant from June 7, 1999 until October 5, 2012

where she worked as a Floor Supervisor.

       32.     Pursuant to Defendant’s policy, pattern, and/or practice, Matlock regularly

worked more than 40 hours in a workweek, but was not compensated for overtime hours worked.

       33.     Matlock was paid straight time for all hours worked over 40 as reflected by MGM

pay records.

       34.     Throughout her employment with Defendant, on one or two occasions per week

Matlock was required to attend a pre-shift meeting for which she was not compensated.

       35.     In addition, Matlock was required to attend training sessions for which she was

not compensated.


                                             -4-
  Case 2:14-cv-13005-AC-MKM ECF No. 1, PageID.5 Filed 08/01/14 Page 5 of 12




       36.     Matlock is a covered employee within the meaning of the FLSA.

       37.     A written consent form for Matlock has been executed.

                                          Patrick Ridgeway

       38.     Plaintiff Patrick Ridgeway is an adult individual who is a resident of Detroit,

Michigan.

       39.     Ridgeway has been employed by Defendant since June 13, 1999 where he works

as a Floor Supervisor.

       40.     Pursuant to Defendant’s policy, pattern, and/or practice, Ridgeway regularly

worked more than 40 hours in a workweek, but was not compensated for overtime hours worked.

       41.     Ridgeway was paid straight time for all hours worked over 40 as reflected by

MGM pay records.

       42.     Throughout his employment with Defendant, on one or two occasions per week

Ridgeway was required to attend a pre-shift meeting for which he was not compensated.

       43.     In addition, Ridgeway was required to attend training sessions for which he was

not compensated.

       44.     Ridgeway is a covered employee within the meaning of the FLSA.

       45.     A written consent form for Ridgeway has been executed.

                                             William Sly

       46.     Plaintiff William Sly is an adult individual who is a resident of Trenton,

Michigan.

       47.     Sly has been employed by Defendant since July 6, 1999 where he works as a

Floor Supervisor.




                                             -5-
  Case 2:14-cv-13005-AC-MKM ECF No. 1, PageID.6 Filed 08/01/14 Page 6 of 12




       48.     Pursuant to Defendant’s policy, pattern, and/or practice, Sly regularly worked

more than 40 hours in a workweek, but was not compensated for overtime hours worked.

       49.     Sly was paid straight time for all hours worked over 40 as reflected by MGM pay

records.

       50.     Throughout his employment with Defendant, on one or two occasions per week

Sly was required to attend a pre-shift meeting for which he was not compensated.

       51.     In addition, Sly was required to attend training sessions for which he was not

compensated.

       52.     Sly is a covered employee within the meaning of the FLSA.

       53.     A written consent form for Sly has been executed.

Defendant

       54.     Defendant MGM Grand Detroit, LLC is a Delaware limited Liability company,

with its principal place of business in Detroit, Wayne County, Michigan.

       55.     Throughout the relevant period, Defendant employed Plaintiffs and similarly

situated employees within the meaning of the FLSA. Defendant has had substantial control over

Plaintiffs’ working conditions and the unlawful policies and practices alleged herein.

       56.     Defendant is a covered employer within the meaning of the FLSA, and at all

times relevant, employed and/or jointly employed Plaintiffs and similarly situated employees.

       57.     At all times relevant, Defendant maintained control, oversight and direction over

Plaintiffs and similarly situated employees, including timekeeping, payroll and other

employment practices that applied to them.

       58.     Defendant applies the same employment policies, practices, and procedures to

Plaintiffs and all similarly situated employees.


                                                   -6-
  Case 2:14-cv-13005-AC-MKM ECF No. 1, PageID.7 Filed 08/01/14 Page 7 of 12




                                 JURISDICTION AND VENUE

        59.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337

and jurisdiction over Plaintiffs’ state-law claims pursuant to 28 U.S.C. § 1367.

        60.     This Court also has jurisdiction over Plaintiffs’ claims under the FLSA pursuant

to 29 U.S.C. § 216(b).

        61.     This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §

2201 and 2202.

        62.     Venue is proper in the Eastern District of Michigan pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to the claims

occurred in this district.

                      COLLECTIVE-WIDE FACTUAL ALLEGATIONS

        63.     Plaintiffs bring their Cause of Action, pursuant to FLSA, 29 U.S.C. § 216(b), on

behalf of themselves and all similarly situated persons who work or have worked for Defendant

as Floor Supervisors, on or after August 1, 2011, who elect to opt-in to this action (the “FLSA

Collective”).

        64.     All of the work that Plaintiffs and the FLSA Collective have performed has been

assigned by Defendant, and/or Defendant have been aware of all of the work that Plaintiffs and

the FLSA Collective have performed.

        65.     As part of its regular business practice, Defendant has intentionally, willfully, and

repeatedly engaged in a pattern, practice, and/or policy of violating the FLSA with respect to

Plaintiffs and the FLSA Collective. This policy and pattern or practice includes, but is not

limited to:




                                                -7-
  Case 2:14-cv-13005-AC-MKM ECF No. 1, PageID.8 Filed 08/01/14 Page 8 of 12




              a.      willfully failing to pay Plaintiffs and the members of the FLSA Collective
                      overtime wages for hours that they worked in excess of 40 hours per
                      workweek;

              b.      willfully misclassifying Plaintiffs and the members of the FLSA
                      Collective as exempt from the protections of the FLSA; and

              c.      willfully failing to record all of the time that its employees, including
                      Plaintiffs and the FLSA Collective, have worked for the benefit of
                      Defendant.

        66.   Defendant are aware or should have been aware that federal law required them to

pay employees performing non-exempt duties, including Plaintiffs and members of the FLSA

Collective, an overtime premium for hours worked in excess of 40 per workweek.

        67.   Plaintiffs and the FLSA Collective all perform or performed the same primary
duty.

        68.   Defendant’s unlawful conduct has been widespread, repeated, and consistent.

                          COMMON FACTUAL ALLEGATIONS

        69.   Throughout their employment with Defendant, Plaintiffs and the members of the

FLSA Collective (the “Collective Members”) consistently worked more than 40 hours per week.

        70.   Defendant was aware that Plaintiffs and the Collective Members worked more

than 40 hours per workweek, yet Defendant failed to pay them any overtime compensation for

any of the hours worked over 40 in a workweek.

        71.   Defendant did not keep records of all hours worked by Plaintiffs or the Collective

Members.

        72.   Plaintiffs’ and the Collective Members primary duty was not management.

        73.   Plaintiffs and the Collective Members primary performed non-exempt hourly

work, including monitoring game play and reporting issues on floor to the Pit Manager.




                                             -8-
  Case 2:14-cv-13005-AC-MKM ECF No. 1, PageID.9 Filed 08/01/14 Page 9 of 12




       74.     Plaintiffs and the Collective Members spent the vast majority of their time

performing these non-exempt duties.

       75.     Plaintiffs and the Collective Members did not exercise any meaningful degree of

independent discretion with respect to the exercise of their duties, and were required to follow

the policies, practices, and procedures set by Defendant.

       76.     Plaintiffs and the Collective Members did not have any independent discretionary

authority to deviate from these policies, practices, and procedures.

                                      CAUSE OF ACTION

                        Fair Labor Standards Act – Overtime Wages
                   (Brought on behalf of Plaintiffs and the FLSA Collective)

       77.     Plaintiffs reallege and incorporate by reference all allegations in all preceding

paragraphs.

       78.     Defendant has engaged in a widespread pattern and practice of violating the

FLSA, as described in this Collective Action Complaint.

       79.     Plaintiffs have consented in writing to be parties to this action, pursuant to 29

U.S.C. § 216(b).

       80.     At all relevant times, Plaintiffs and other similarly situated current and former

employees were engaged in commerce and/or the production of goods for commerce within the

meaning of 29 U.S.C. §§ 206(a) and 207(a).

       81.     The overtime wage provisions set forth in §§ 201 et seq. of the FLSA apply to

Defendant.

       82.     Defendant is an employer engaged in commerce and/or the production of goods

for commerce within the meaning of 29 U.S.C. §§ 206(a) and 207(a).



                                               -9-
Case 2:14-cv-13005-AC-MKM ECF No. 1, PageID.10 Filed 08/01/14 Page 10 of 12




       83.     At all relevant times, Plaintiffs were employees within the meaning of 29 U.S.C.

§§ 203(e) and 207(a).

       84.     Defendant failed to pay Plaintiffs and other similarly situated current and former

employees the overtime wages to which they were entitled under the FLSA.

       85.     Defendant’s violations of the FLSA, as described in this Collective Action

Complaint, have been willful and intentional. Defendant intentionally failed to make a good

faith effort to comply with the FLSA with respect to their compensation of Plaintiffs and other

similarly situated current and former employees.

       86.     Because Defendant’s violations of the FLSA have been willful, a three-year

statute of limitations applies, pursuant to 29 U.S.C. § 255.

       87.     As a result of Defendant’s willful violations of the FLSA, Plaintiffs and all other

similarly situated employees have suffered damages by being denied overtime wages in

accordance with 29 U.S.C. §§ 201 et seq.

       88.     As a result of the unlawful acts of Defendant, Plaintiffs and other similarly

situated current and former employees have been deprived of overtime compensation and other

wages in amounts to be determined at trial, and are entitled to recovery of such amounts,

liquidated damages, prejudgment interest, attorneys’ fees, costs and other compensation pursuant

to 29 U.S.C. § 216(b).

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of all other similarly situated

persons, seek the following relief:

       A.      That, at the earliest possible time, Plaintiffs be allowed to give notice of this

               collective action, or that the Court issue such notice, to the Collective Members.


                                               - 10 -
Case 2:14-cv-13005-AC-MKM ECF No. 1, PageID.11 Filed 08/01/14 Page 11 of 12




             Such notice should inform them that this civil action has been filed, of the nature

             of the action, and of their right to join this lawsuit, among other things;

      B.     Unpaid overtime pay, and an additional and equal amount as liquidated damages

             pursuant to the FLSA and the supporting United States Department of Labor

             regulations;

      C.     Issuance of a declaratory judgment that the practices complained of in this

             Collective Action Complaint are unlawful under appropriate state law;

      D.     Pre-judgment interest and post-judgment interest as provided by law;

      E.     Appropriate equitable and injunctive relief to remedy violations, including but not

             necessarily limited to an order enjoining Defendant from continuing its unlawful

             practices;

      F.     A reasonable incentive award for the Plaintiffs to compensate them for the time

             and effort they spent protecting the interests of other sales producers, and the risks

             they undertook.

      G.     Attorneys’ fees and costs of the action; and

      H.     Such other injunctive and equitable relief as this Court shall deem just and proper.

                                                      Respectfully submitted,

                                               PITT MCGEHEE PALMER & RIVERS, P.C.

                                               By: /s/ Megan A. Bonanni P52079
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                                                    Robert W. Palmer P31704
                                                    Attorney for Plaintiffs
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Dated: August 1, 2014

                                             - 11 -
Case 2:14-cv-13005-AC-MKM ECF No. 1, PageID.12 Filed 08/01/14 Page 12 of 12




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


Cynthia Applebaum, Warren Black, Anita
Matlock, Patrick Ridgeway, and William Sly,
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___________________________________________________________________________/

                                         JURY DEMAND

       Plaintiffs reserve their right to and hereby request a trial by jury.

                                                         Respectfully submitted,

                                                  PITT MCGEHEE PALMER & RIVERS, P.C.

                                                  By: /s/ Megan A. Bonanni P52079
                                                       Megan A. Bonanni P52079
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Dated: August 1, 2014


                                                - 12 -
